              Case: 18-3555                   Document: 15         Filed: 01/28/2019        Pages: 2



      UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                                       Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                             Phone: (312) 435-5850
             Chicago, Illinois 60604                                                   www.ca7.uscourts.gov




                                         NOTICE OF ISSUANCE OF MANDATE
 January 28, 2019


To:            Shig Yasunaga
               UNITED STATES DISTRICT COURT
               Central District of Illinois
               Rock Island , IL 61201-0000



                                         UNITED STATES OF AMERICA,
                                         Plaintiff - Appellee

 No. 18-3555                             v.

                                         TIMOTHY B. FREDRICKSON,
                                         Defendant - Appellant

  Originating Case Information:

 District Court No: 4:17-cr-40032-SLD-1
 Central District of Illinois
 District Judge Sara Darrow
Herewith is the mandate of this court in this appeal, along with the Bill of Costs, if any. A
certified copy of the opinion/order of the court and judgment, if any, and any direction as to
costs shall constitute the mandate.


  RECORD ON APPEAL STATUS:                                   No record to be returned




 This notice sent to:

 []            United States Marshal                         [X]      United States Probation Officer
          Case: 18-3555         Document: 15              Filed: 01/28/2019          Pages: 2



NOTE TO COUNSEL:
If any physical and large documentary exhibits have been filed in the above-entitled cause, they are
to be withdrawn ten (10) days from the date of this notice. Exhibits not withdrawn during this period
will be disposed of.

Please acknowledge receipt of these documents on the enclosed copy of this notice.

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 Received above mandate and record, if any, from the Clerk, U.S. Court of Appeals for the
 Seventh Circuit.

 Date:                                                Received by:


 _________________________                            ____________________________________




 form name: c7_Mandate(form ID: 135)
